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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


MATTHEW SEIBEL,

              Plaintiff,
                                          Case No.: 10-CV-2260 SAC/KGS
v.

ACCOUNTS RECEIVABLE MANAGEMENT, INC.,

             Defendant.


                           COMPLAINT AND JURY DEMAND


                                       JURISDICTION

1.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

2.   This action arises out of the Defendant’s violations of the Fair Debt Collection

     Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                           VENUE

3.   Venue is proper in this Judicial District.

4.   The acts and transactions alleged herein occurred in this Judicial District.

5.   The Plaintiff resides in this Judicial District.

6.   The Defendant transacts business in this Judicial District.

                                          PARTIES

7.   Plaintiff, Matthew Seibel, is a natural person.

8.   The Plaintiff resides in the City of Hutchinson, County of Reno, State of Kansas.

9.   The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).
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10.   The Plaintiff is an “any person” as that term is used in 15 U.S.C. § 1692 et seq.

11.   Defendant, Accounts Receivable Management, Inc., is a foreign corporation.

12.   Defendant has a Kansas resident agent of The Corporation Company, Inc., 515

      South Kansas Avenue, Topeka, Kansas 66603.

13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

14.   The principal purpose of the Defendant is the collection of debts using the mails

      and telephone.

15.   The Defendant regularly attempts to collect debts alleged to be due another.

                 FACTUAL ALLEGATIONS AND CAUSES OF ACTION

16.   Sometime prior to the filing of the instant action, the Plaintiff allegedly incurred a

      financial obligation that was primarily for personal, family or household purposes

      namely an amount due and owing on a personal account (hereinafter the

      “Account”).

17.   The Account is a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

18.   The Account went into default with the original creditor.

19.   After the Account went into default the Account was placed or otherwise

      transferred to the Defendant for collection.

20.   The Plaintiff disputes the Account.

21.   The Plaintiff requests that the Defendant cease all further communication on the

      Account.

22.   The Plaintiff requests that the Defendant validate the debt pursuant to 15 U.S.C.

      § 1692g.



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23.   In the year prior to the filing of the instant action the Defendant and/or

      representatives, employees and/or agents of the Defendant made telephone

      calls to the Plaintiff and left voicemail messages for the Plaintiff.

24.   The purpose of these telephone calls and voicemail messages was to attempt to

      collect the Account.

25.   The telephone calls and voicemail messages conveyed information regarding the

      Account directly or indirectly to the Plaintiff.

26.   The telephone calls and voicemail messages each individually constituted a

      “communication” as defined by FDCPA § 1692a(2).

27.   The only reason that the Defendant and/or representatives, employees and/or

      agents of the Defendant made telephone calls to the Plaintiff was to attempt to

      collect the Account.

28.   The only reason that the Defendant and/or representatives, employees and/or

      agents of the Defendant left voicemail messages for the Plaintiff was to attempt

      to collect the Account.

29.   Each voicemail message was an attempt to collect the Account.

30.   The voicemail messages conveyed information regarding the Account directly or

      indirectly to the Plaintiff.

31.   The voicemail messages constituted a “communication” as defined by FDCPA §

      1692a(2).




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32.   During the telephone calls representatives, employees and/or agents of the

      Defendant continually caused Plaintiff’s telephone to ring in violation of 15 U.S.C.

      § 1692d(5).

33.   During the telephone calls and voicemails representatives, employees and/or

      agents of the Defendant transmitted confidential account information to a third

      party in violation of 15 U.S.C. § 1692c(b).

34.   The foregoing acts and omissions were undertaken by the Defendant and its

      representatives, employees and / or agents as part of a campaign of abusive and

      unlawful collection tactics directed at the Plaintiff.

35.   The Defendant and its representatives, employees and/or agents above listed

      statements and actions constitute harassment or abuse and therefore violate

      FDCPA 1692d preface and d(5).

36.   The Defendant and its representatives, employees and/or agents above listed

      statements and actions constitute false or misleading representations and violate

      FDCPA 1692e preface, e(2)(A), e(3), e(4), e(5), e(7), e(10) and e(11).

37.   As a consequence of the Defendant’s collection activities and

      communications, the Plaintiff has suffered actual damages, including

      emotional distress.

                                   RESPONDEAT SUPERIOR


39.   The representatives and/or collectors at the Defendant were employees of and

      agents for the Defendant, were acting within the course and scope of their




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         employment at the time of the incidents complained of herein and were under the

         direct supervision and control of the Defendant at all times mentioned herein.

43.      The actions of the representatives and/or collectors at the Defendant are imputed

         to their employer, the Defendant.

44.      As a direct and proximate result of the aforesaid actions, the Plaintiff has suffered

         the aforementioned damages..



                                  JURY TRIAL DEMAND

The Plaintiff is entitled to and hereby demands a trial by jury. US Const. amend. 7.,

Fed. R. Civ. Pro. 38.

                          DESIGNATION OF PLACE OF TRIAL

      Plaintiff requests Kansas City, Kansas as the place of trial.




                                           PRAYER

WHEREFORE, the Plaintiff prays that the Court grants the following:

1.      Actual damages under 15 USC § 1692k(a)(1).

2.      Statutory damages under 15 USC § 1692k(a)(2)(A).

3.      Reasonable attorneys fees and costs pursuant to 15 USC § 1692k(a)(3).

4.      Such other and further relief as the Court deems just and proper




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                                    Respectfully submitted,



                                   /s/ J. Mark Meinhardt
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